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October 28, 2014                                                                     robert.sugarman@weil.com




Honorable A. Kathleen Tomlinson
District Court Magistrate Judge
Long Island Federal Courthouse
100 Federal Plaza
Central Islip, NY 11722

Re:     East End Eruv Association Inc., et al. v. Village of Westhampton Beach, et al., 11-cv-0213(AKT)
        Verizon New York, Inc. and Long Island Lighting Company v. Village of Westhampton Beach,
        et al., 11-cv-0252 (AKT)

Dear Judge Tomlinson:

On September 24, 2014, this Court issued a Memorandum and Order in 13-cv-4810 (Docket No. 73),
dismissing without prejudice Plaintiffs’ Sixth Cause of Action, and staying the remainder of the action
“pending the determination of the Article 78 proceeding in New York state court.” We write to inform
the Court that on October 24, 2014, Plaintiff EEEA timely filed an Article 78 proceeding in Supreme
Court, Suffolk County. The petition is attached hereto for your reference.

With respect to Quogue, in the “Findings of Fact and Conclusions of Law” issued in 11-cv-252 on June
16, 2014 (Docket No. 130), the Court concluded that it “does not have enough information to determine
if it may properly address whether the Quogue Village Code applies to the lechis in light of the decision
of the Board of Trustees. The parties may contact the Court if they wish to pursue this issue.” The
following day, Plaintiffs in 11-cv-213 contacted the Court to confirm they wanted to pursue the
issue. Docket No. 253 (11-cv-213). The parties in both cases then made additional submissions. See
Docket Nos. 254, 255, 257, 267, 269 (11-cv-213); Docket Nos. 131, 132, 133 (11-cv-252) (the “Quogue
Letters”). The Court’s Memorandum and Order in 13-cv-4810 (Docket No. 73) addressed many of the
issues raised by the Quogue Letters, see pp. 19-28, and Plaintiffs look forward to expeditiously
proceeding before this Court with respect to Quogue.

Respectfully submitted,

/s/ Robert G. Sugarman

Robert G. Sugarman
Enclosure
cc: All counsel of record (via ECF)
